Case:20-16815-JGR Doc#:183 Filed:04/27/21 Entered:04/27/21 10:01:20 Pagel of 14

  

Fill In this information to identify the case:

   

Debtor Name Richard Weingarten

 
     
  

United States Bankruptcy Court for the: District of __ Colorado__ =

 

Case number: 20-16815-JGR

 

 

Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11
Month: March 2021 Date report filed:
Line of business: Personal NAISC code:

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury

that | have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: Righard E Weingarten.
Original signature of responsible pany , fAc A
Printed name of responsible party Richard E Weingarten

| sd 1. Questionnaire

 

 

 

C) Check if this is an
amended filing

‘42H7

04/27/2021.
paeUzOeT

 

Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

Did the business operate during the entire reporting period?
Do you plan to continue to operate the business next month?

Have you paid all of your bills on time?

Did you pay your amployees on time?

Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?
Have you timely filed your tax retums and paid all of your taxes?

Have you timely filed all other required government filings?

Are you currenton your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?

o PN Ow FF BP a.

Have you timely paid all of your insurance premiums?

If you answer No to. any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

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If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.

10. Do you have any bank accounts open other than the DIP accounts?

11. Have you sold any assets other than inventory?
12. Have you sald or transferred any assets or provided services to anyone related to the DIP in any way?
13. Did any insurance company cancel your policy?

14. Did you have any unusual or significant unanticipated expenses?
15. Have you borrowed money from anyone or has anyone made any payments on your behalf?

16. Has anyone made an investment in your business?

Official Form 425¢ Monthly Operating Report for Small Business Under Chapter 11

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OBOSB8# BAA
BSOOOOdOO

page 4
Case:20-16815-JGR Doc#:183 Filed:04/27/21 Entered:04/27/21 10:01:20 Page2 of 14

Debtor Name Richard Weingarten Case number 20-1 681 5-JGR

 

 

17. Have you paid any bills you owed before you filed bankruptcy? QO wi
FI

OO

18. Have you allowed ahy checks to clear the bank that were issued before you filed bankruptcy? O

 

ie 2. Summary of Cash Activity for All Accounts

 

19. Total opening balance of all accounts 93,911.56
This amount must equal what you reported as the cash on hand at the end of the month in the previous ssi

month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

20. Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. $_12,044.78

21. Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf. Do not attach bank statements

“$
Report the total from Exhibit D here.

22. Net cash flow

Subtract line 21 from line 20 and report the result here.
This amount may be different from what you may have calculated as net profit.

+ 3 5,369.93

23. Cash on hand at the end of the month

Add line 22 + line 19. Report the result here.
. . . = $ 29,281.48
Report this figure as the cash on hand at the beginning of the month on your next operating report. TT

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

 

ae :. Unpaid Bills

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

24. Total payables Interim Compensation owed to Counsel as of 3/31/2021 $ 21,254.72
per ‘st Interim Fee Application to be filed.

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 2
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Debtor Name Richard Weingarten Case number 20-16815-JGR

| Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from

 

 

 

 

 

 

 

   

  
  

 

 

 

 

 

 

 

 

Exhibit F here.
25. Total receivables $ 0.00
(Exhibit F)
| Employees
26. What was the number of employees when the case was filed?
27. What is the number of employees as of the date of this monthly report?
a 6. Professional Fees
*
How much have you paid this month in professional fees related to this bankruptcy case? $ __ 6,866.94
*
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ _ 23,860.00
30. How much have you paid this month in other professional fees? $ ___0.00
31. How much have you paid in total other professional fees since filing the case? $ 0.00
1 | 7. Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
: ‘Sub ract Column E
N's. ep from Column A. th
32. Cash receipts 5 11 731 .09 — gs 12,044.78 = § 1343, 69
33. Cash disbursements ¢ 6,360.00 — ¢ 6,674.85 = ¢ -314.85
34. Net cash flow ¢ 5,371.09 — 1 $ 5,369.93 $ -1.16
35. Total projected cash receipts for the next month: $___8,460.74
36. Total projected cash disbursements for the next month: =~ 3 6,360.00
37. Total projected net cash flow for the next month: =s3 2,100.70

*Paid from retainer, retainer balance now zero.

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11

page 3
Case:20-16815-JGR Doc#:183 Filed:04/27/21 Entered:04/27/21 10:01:20 Page4 of 14

Debtor Name Richard Weingarten Case number 20-16815-JGR

| 8. Additional Information

Hf available, check the box to the left and attach copies of the following documents.

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0 39.

40.

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O 41.
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42.

Bank statements for each open account (redact all but the last 4 digits of account numbers).
Bank reconciliation reports for each account.

Financial reports such as an income statement (profit & loss) and/or balance sheet.

Budget, projection, or forecast reports.

Project, job costing, or work-in-progress reports.

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 4
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Exhibit B

Unexpected medical bill for a prostate procedure - $492.80
Case:20-16815-JGR Doc#:183 Filed:04/27/21 Entered:04/27/21 10:01:20 Pageé6 of 14

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Wells Fargo’ Preferred Checking

March 31,2021 m Page 1of6é

RICHARD E WEINGARTEN
CEBTOR IN POSSESSION
CH11 CASE #20-16815 (CO)
1133 NORTHRIDGE DR
ERIE CO 80516-9053

 

  

Questions?

Available by phone 24 hours a day, 7 days a week:
We accept alt relay cails, including 711

1-800-TO-WELLS (1-800-869-3557)
En espafiol: 1-877-727-2932

Online: wellsfargo.com

Write: Wells Fargo Bank, N.A. (163)
P.O. Box 6995
Portland, OR 97228-6995

 

You and Wells Fargo

Thank you for being a loyal Wells Fargo customer. We value your trust in our
company and look forward to continuing to serve you with your financial needs.

Account options

A check mark in the box indicates you have these
convenient services with your account(s). Go to
wellsfargo.com or call the number above if you have
questions or if you would like to add new services.

Online Banking Direct Deposit
Online Bill Pay E] Auto Transfer/Payment E]
Online Statements Overdraft Protection [|
[-] Debit Card
Overdraft Service

Mobile Banking
My Spending Report

IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of

hearing customers and customers with speech disorders.

 

Statement period activity summary

 

Beginning balance on 3/1 $18,939.24
Deposits/Additions 12,045.72
Withdrawals/Subtractions - 6,881.10
Ending balance on 3/31 $24,103.86

(163)

Account number: [II6730

RICHARD E WEINGARTEN
DEBTOR IN POSSESSION
CH11 CASE #20-16815 (CO)

Colorado account terms and conditions apply

For Direct Deposit use
Routing Number (RTN): | 9076
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Overdraft Protection

This account is not currently covered by Overdrait Protection. If you would like more information regarding Overdraft Protection and eligibility requirements

please call the number listed on your statement or visit your Wells Fargo branch.

 

Interest summary
Interest paid this statement $0.17
Average collected balance $20,132.38
Annual percentage yield earned 0.01%
Interest eamed this statement period $0.17
Interest paid this year $0.50
Total interest paid in 2020 $0.28

 

Transaction history

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily

Date Number Description Additions Subtractions balance

3/1 Fidelity Investm Fidelity xxxxx3562 Weingarten, Richard E 1,091.32

3/1 Purchase authorized on 02/25 Five Guys CO 1591 Broomfield CO 22.37
$581056853279376 Card 1176

3/1 Purchase authorized on 02/27 Cracker Barrel #27 Loveland CO 28.14
$581058532837894 Card 1176

3/1 Purchase authorized on 02/27 Front Range Gun Cl Loveland CO 1.00
$301058722799886 Card 1176

3/1 Recurring Payment authorized on 02/28 Apple.Com/Bill 0.99
866-712-7753 CA $381059360791104 Card 1176

3/1 Purchase authorized on 02/28 Wal-Mart #0953 Loveland CO 11.97
P00000000885512223 Card 1176

3/1 Purchase authorized on 02/28 Shell Service Station Erie CO 40.43
P00461060109897861 Card 1176

v1 Purchase authorized on 03/01 King Soop 2355 W. 136T 45.61 19,880.05
Broomfield CO P00000000637748778 Card 1176

3/2 Front Range Gun Payroll 210302 P4548343 Richard Weingarten 380.27

3/2 Artech LLC Dir Dep 210219 127960 Weingarten,Richard E 3,054.44

3/2 Bill Pay US Bank Consumer Loan Mobile xxxxx44263 on 03-02 468.81

3/2 Bill Pay Xcel Energy Mobile xxxxx40030 on 03-02 42,23

3/2 Quicken Loans Mig Pymts 030121 3362880596 Richard E 3,043.96 19,759.76
Weingarten

3/3 Purchase authorized on 03/01 Med*Boulder Medica Boulder CO 492.80 19,266.96
$381060583374658 Card 1176

3/4 Purchase authorized on 03/04 Circle K # 41129 885 W Broomfield 35.73
CO P00000000073288831 Card 1176

3/4 Bill Pay Royal Crest Dairy on-Line x08790 on 03-04 28.88

3/4 Comcast 8497606 xxxxx8338 210303 2598161 Richard 170.76
“Weingarten

3/4 109 Check 350.00 18,681.59

3/5 Purchase authorized on 03/03 Chick-Fil-A #02061 Thornton CO 9.63
$581063096185431 Card 1176

3/5 Purchase authorized on 03/04 Front Range Gun Cl Loveland CO 1.00 18,670.96
$381063717887443 Card 1176

3/8 Purchase authorized on 03/04 Cracker Barrel #27 Loveland CO 28.64
$381063530745072 Card 1176

4/8 Purchase authorized on 03/06 Front Range Gun C} Loveland CO 25.641
$461066048444807 Card 1176

3/8 Purchase authorized on 03/07 Wal-Mart #0953 Loveland CO 21,94
P00000000875391078 Card 1176

3/8 Town of Erie Uti Payment 210305 999000000018648 Richard E 92.11

Weingarten
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March 31,2021 m= Page 3 of6

 

 

Transaction history (continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily

Date Number Description Additions Subtractions balance

3/8 Comotorveh CO.Go Comotorveh 303-534-3468 Richard 205.57 18,297.09
Weingarten

3/9 Karen Weingarten Trial Dep 210308 Karen Weingarten 0.05

3/9 Karen Weingarten Trial Dep 210308 Karen Weingarten 0.63

3/9 Karen Weingarten Trial Dep 210308 Karen Weingarten 0.68 18,297.09

3/10 Purchase authorized on 03/08 Murphy Express 872 Lafayette CO 38.74
$581067719632674 Card 1176

3/10 Purchase authorized on 03/08 China Gourmet Longmont CO 26.01
$461067842212550 Card 1176

3/10 Recurring Payment authorized on 03/09 State Farm Insura 331.16 17,901.18
800-956-6310 IL S461068366329542 Card 1176

3/11 Deposit 500.00

3/11 Purchase authorized on 03/10 Front Range Gun Cl Loveland CO 1.00 18,400.18
$461069784220385 Card 1176

3/12 Purchase authorized on 03/10 Raocoparks&Wildlif Denver CO TX 60.00
$301070082651138 Card 1176

3/12 Purchase authorized on 03/12 Kum&Go 0995 Loveland Loveland 16.32 18,323.86
CO P00381071823836670 Card 1176

3/15 Purchase authorized on 03/11 Cracker Barrel #27 Loveland CO 21.68
$30107 1031412382 Card 1176

3/15 Purchase authorized on 03/13 Nordys Bbq & Grill Loveland CO 32.70 18,269.48
$301073086871489 Card 1176

3/16 Artech LLC Dir Dep 210305 127960 Weingarten,Richard E 3,128.14

3/16 Front Range Gun Payroll 210316 P4669403 Richard Weingarten 381.28

3/16 Purchase authorized on 03/16 Sheil Service Station Erie CO 27.11
P00461075409507615 Card 1176

3/16 United Power, inc Elec Pmt 0000937101 Richard Weingarten 144.00 21,607.76

3/18 Purchase authorized on 03/16 Chick-Fil-A #01888 Loveland CO 14.65 -
$581075689426381 Card 1176

3/18 Purchase authorized on 03/17 Front Range Gun Cl Loveland CO 46.57
$301076724807808 Card 1176

3/18 Purchase authorized on 03/18 King Soop 2355 W. 136T 39.24 21,507.30
Broomfield CO P00000000777014496 Card 1176

3/22 Purchase authorized on 03/19 Associates IN Fami Loveland CO 49.00
$461078523482784 Card 1176

3/22 Purchase authorized on 03/19 Saigon Xpress Longmont CO 21.49
$301078663680944 Card 1176

3/22 Recurring Payment authorized on 03/19 Progressive ins 206.39
800-776-4737 OH S301079232247308 Card 1176

3/22 Purchase authorized on 03/20 Chick-Fil-A #03634 Westminster 10.84
CO $381080066193570 Card 1176

3/22 Purchase authorized on 03/20 Shell Service Station Erie CO 51.14
P00581080091407849 Card 1176

3/22 Recurring Payment authorized on 03/21 Netflix.Com Netflix.Cam 17.99
CA $581080417172371 Card 1176 .

3/22 Purchase authorized on 03/21 Wal-Mart #0953 Loveland CO 7.05
P00000000087928278 Card 1176

3/22 Purchase authorized on 03/22 Five Guys 4480 W 121St 21.87 21,121.56
Broomfield CO PQ0000000089309895 Card 1176

3/23 Purchase authorized on 03/21 Tst* McGraff S Loveland CO 26.96
$381081019129473 Card 1176

3/23 ATT Payment 032121 518720013Epayo Richard Weingarten 179.60 20,915.00

3/25 Mobile Deposit : Ref Number :913250822325 0.09

3/25 Purchase authorized on 03/24 Japon Ralls & Bowl Thornton CO 24.41
$581083835787834 Card 1176

3/25 Purchase authorized on 03/25 King Soopers #07 2395 W. 45.12
Broomfield CO P00581084743891561 Card 1176

3/25 Purchase authorized on 03/25 King Soop 2355 W. 136T 20.77 20,824.79
Broomfield CO P00000000586137125 Card 1176

3/29 Purchase authorized on 03/26 Walgreens #12864 Erie CO 91.72

$461085819447628 Card 1176
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March 31, 2021 m Page 4 of6

 

 

Transaction history (continued)

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily

Date Number Description Additions Subtractions balance

3/29 Purchase authorized on 03/26 Foo Yung Express Erie CO 21.37
$581085829350039 Card 1176

3/29 Purchase authorized on 03/27 Front Range Gun Cl Loveland CO 1.00
$381086823746289 Card 1176

3/29 Purchase authorized on 03/29 King Soop 1891 State H Erie CO 35.50
P00000000676838644 Card 1176

3/29 Purchase authorized on 03/29 King Soop 2355 W. 136T 12.98 20,662.22
Broomfield CO PQ0000000686025646 Card 1176

3/30 Artech LLC Dir Dep 210319 127960 Weingarten, Richard E 3,128.10

3/30 Front Range Gun Payroll 210330 P4780036 Richard Weingarten 381.26

3/30 Purchase authorized on 03/28 Tst* McGraff S Loveland CO 26.96
$581088040660923 Card 1176

3/30 Purchase authorized on 03/29 Shell Service Station Erie CO 39.94 24,104.68
P003010890634 10873 Card 1176

3/31 Recurring Payment authorized on 03/30 Apple.Com/Bill 0.99
408-974-1010 CA $381089323756985 Card 1176 .

3/31 Interest Payment 0.17 24,103.86

Ending balance on 3/31 24,103.86

Totals $12,045.72 $6,881.10

The Ending Daily Baiance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted. [If you had insufficient available funds when a transaction posted, fees may have been assessed.

Summary of checks written (checks listed are also displayed in the preceding Transaction history)

Number Date Amount
109 3/4 350.00

 

Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for a
link to these documents, and answers to common monthly service fee questions.

 

Fee period 03/01/2021 - 03/31/2021 Standard monthly service fee $15.00 You paid $0.00

How to avold the monthly service fee Minimum required This fee period

Have any ONE of the following account requirements
* Total amount of qualifying direct deposits $1,000.00 $11,545.46 [7]
A linked Wells Fargo home morigage 1 oO
+ Combined balance in linked accounts, which may include $10,000.00 $17,901.18 [J

- Minimum daily balance in personal checking, savings, Time Accounts (CDs) and
FDIC-insured Retirement accounts
JDO

IMPORTANT ACCOUNT INFORMATION

Effective on or after April 1, 2021, the ATM Access Code feature will no longer be available to access your accounts at Wells Fargo ATMs.
You may continue to access Wells Fargo ATMs using your Wells Fargo Debit, ATM or EasyPay Card, or with a Wells Fargo-supported
digital wallet on your mobile device. For more information about adding your card to a digital wallet, please visit
wellsfargo.com/mobile/payments. Availability may be affected by your mobile carrier's coverage area. Your mobile carrier's message

and data rates may apply. Some ATMs within secure locations may require a physical card for entry. Note: After the ATM Access Code
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feature for accessing Wells Fargo accounts is discontinued, the "Use an Access Code” button may continue to be displayed on Wells
Fargo ATMs to support other services.

Can we reach you when it's really important?

Don't miss suspicious-activity alerts and critical account information. Please make sure your contact information is current by:

- Signing on to wellsfargo.com or the Wells Fargo Mobile” app and navigating to the Update Contact Information page via My Profile
~ Contacting the phone number at the top of your statement

- Visiting a branch
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Worksheet to balance your account

Follow the steps below to reconcile your statement balance with your
account register balance. Be sure that your register shows any interest
paid into your account and any service charges, automatic payments or
ATM transactions withdrawn from your account during this statement

period.
[A] Enter the ending balance on this statement.

List outstanding deposits and other
credits to your account that do not appear on
this statement. Enter the total in the column
to the right.

  

     

Description Amount

  

Tatal | $

  

 

 

[¢] Add fA] and |B} to calculate the subtotal.

[D] List outstanding checks, withdrawals, and
other debits to your account that do not appear
on this statement. Enter the total in the column
to the right.

Number/Description Amount

Total

 

fe] Subtract [D] from |C| to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register,

     

$

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General statement policies for Wells Fargo Bank

a To dispute or report inaccuracies in Information we have furnished to a
Consumer Reporting Agency about your accounts. You have the right to
dispute the accuracy of information that Wells Fargo Bank, N.A. has
furnished to a consumer reporting agency by writing to us at Overdraft
Collaction and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
describe the specific information that is inaccurate or in dispute and the
basis for the dispute along with supporting documentation. If you believe
the information furnished is the result of identity theft, please provide us
with an identity theft report.

m In case of errors or questions about your electronic transfers,
telephone us at the number printed on the front of this statement or write
us at Wells Fargo Bank, P.O, Box 6995, Portland, OR 97228-6995 as soon as
you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear
from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

1. Tall us your name and account number (if any).

2. Describe the error or the transfer you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more
information.

3. Tell us the dollar amount of the suspected error,

We will investigate your complaint and will correct any error promptly. If
we take more than 10 business days to do this, we will credit your account
for the amount you think is in error, so that you will have the use of the
money during the time it takes us to complete our investigation.

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